                                                                                                                                                    Case 2:05-cv-01316-JAM-EFB Document 77 Filed 08/31/05 Page 1 of 4

                                                                                                                                                1 WULFSBERG REESE COLVIG & FIRSTMAN
                                                                                                                                                  PROFESSIONAL CORPORATION
                                                                                                                                                2 Charles W. Reese - 045805
                                                                                                                                                  Timothy A. Colvig - 114723
                                                                                                                                                3 Michael J. Higgins - 151549
                                                                                                                                                  Kaiser Center
                                                                                                                                                4 300 Lakeside Drive, 24th Floor
                                                                                                                                                  Oakland, CA 94612-3524
                                                                                                                                                5 Telephone: (510) 835-9100
                                                                                                                                                  Facsimile: (510) 451-2170
                                                                                                                                                6
                                                                                                                                                  OFFICE OF THE CITY ATTORNEY, CITY OF STOCKTON
                                                                                                                                                7 Richard E. Nosky -- 130726
                                                                                                                                                  Michael T. Rishwain – 109402
                                                                                                                                                8 City Hall- 425 N. El Dorado Street
                                                                                                                                                  Stockton, CA 95202
                                                                                                                                                9
                                                                                                                                                  Attorneys for Defendant
                                                                                                                                               10 The City of Stockton
              WULFSBERG REESE COLVIG & FIRSTMAN




                                                                                                                                               11

                                                                                                                                               12                           IN THE UNITED STATES DISTRICT COURT
                                                                                   OAKLAND, CALIFORNIA 94612-3524
                                                  300 LAKESIDE DRIVE, 24TH FLOOR
                                                   PROFESSIONAL CORPORATION




                                                                                                                                               13                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                                                                                    TELEPHONE (510) 835-9100
                                                          KAISER CENTER




                                                                                                                                               14
LAW OFFICES




                                                                                                                                               15 AMERICAN MEDICAL RESPONSE, INC., A                       No. 2:05-CV-01316-DFL-PAN
                                                                                                                                                  Delaware Corporation,
                                                                                                                                               16                                                          DECLARATION OF MICHAEL J.
                                                                                                                                                               Plaintiff,                                  HIGGINS IN OPPOSITION TO
                                                                                                                                               17                                                          AMERICAN MEDICAL RESPONSE INC.’s
                                                                                                                                                  vs.                                                      MOTION FOR SUMMARY JUDGMENT,
                                                                                                                                               18                                                          OR, IN THE ALTERNATIVE SUMMARY
                                                                                                                                                  CITY OF STOCKTON, A California                           ADJUDICATION
                                                                                                                                               19 Municipal Corporation; DOES 1 THROUGH
                                                                                                                                                  50,
                                                                                                                                               20                                                          Date: September 14, 2005
                                                                                                                                                               Defendant.                                  Time: 10 a.m.
                                                                                                                                               21                                                          Courtroom: 7
                                                                                                                                               22                                                          Honorable David F. Levi
                                                                                                                                                  CITY OF STOCKTON, a California
                                                                                                                                               23 Municipality,

                                                                                                                                               24                  Counterclaimant,
                                                                                                                                               25 vs.

                                                                                                                                               26 AMERICAN MEDICAL RESPONSE, INC., a
                                                                                                                                                  Delaware Corporation,
                                                                                                                                               27
                                                                                                                                                               Counterdefendant.
                                                                                                                                               28


                                                                                                                                                                                                     -1-
                                                                                                                                                    DECLARATION OF MICHAEL J. HIGGINS IN OPPOSITION TO AMR’s MOTION FOR SUMMARY JUDGMENT
                                                                                                                                                    1881-010\2102948.1
                                                                                                                                                    Case 2:05-cv-01316-JAM-EFB Document 77 Filed 08/31/05 Page 2 of 4

                                                                                                                                                1

                                                                                                                                                2

                                                                                                                                                3

                                                                                                                                                4 I, Michael J. Higgins, declare:

                                                                                                                                                5          1.      I am an attorney with the firm Wulfsberg Reese Colvig & Firstman, PC, attorneys

                                                                                                                                                6 of record for the City of Stockton, defendant and counterclaimant in this case. I have personal

                                                                                                                                                7 knowledge of the matters stated herein.

                                                                                                                                                8          2.      Attached hereto behind the tab “Gillis Depo” are true and correct copies of pages

                                                                                                                                                9 from the certified deposition transcript of W. Gary Gillis, taken on August 5, 2005. The excerpt
                                                                                                                                               10 includes the first page of the deposition transcript and the certification page.
              WULFSBERG REESE COLVIG & FIRSTMAN




                                                                                                                                               11          3.      Attached hereto behind the tab “Meyer Depo” are true and correct copies of pages

                                                                                                                                               12 from the certified deposition transcript of Louis Meyer, taken on August 8, 2005. The excerpt
                                                                                   OAKLAND, CALIFORNIA 94612-3524
                                                  300 LAKESIDE DRIVE, 24TH FLOOR
                                                   PROFESSIONAL CORPORATION




                                                                                                                                               13 includes the first page of the deposition transcript and the certification page.
                                                                                                                    TELEPHONE (510) 835-9100
                                                          KAISER CENTER




                                                                                                                                               14          4.      Attached hereto as Exhibit 1 is a true and correct copy of Deposition Exhibit
LAW OFFICES




                                                                                                                                               15 number 4, authenticated at page 32 of the Meyer deposition.

                                                                                                                                               16          5.      Attached hereto as Exhibit 2 is a true and correct copy of Deposition Exhibit

                                                                                                                                               17 number 5, authenticated at pages 43-45 of the Meyer deposition.

                                                                                                                                               18          6.      Attached hereto as Exhibit 3 is a true and correct copy of Deposition Exhibit

                                                                                                                                               19 number 11, authenticated at pages 86-87 of the Meyer deposition.
                                                                                                                                               20          7.      Attached hereto as Exhibit 4 is a true and correct copy of Deposition Exhibit

                                                                                                                                               21 number 12, authenticated at pages 102-103 of the Meyer deposition.

                                                                                                                                               22          8.      Attached hereto as Exhibit 5 is a true and correct copy of Deposition Exhibit

                                                                                                                                               23 number 17, authenticated at page 129 of the Meyer deposition.

                                                                                                                                               24          9.      Attached hereto as Exhibit 6 is a true and correct copy of Deposition Exhibit

                                                                                                                                               25 number 18, authenticated at pages 132-133 of the Meyer deposition.

                                                                                                                                               26          10.     Attached hereto as Exhibit 7 is a true and correct copy of Deposition Exhibit

                                                                                                                                               27 number 19, authenticated at page 134 of the Meyer deposition.

                                                                                                                                               28          11.     Attached hereto behind the tab “Hafey Depo” are true and correct copies of pages


                                                                                                                                                                                                     -2-
                                                                                                                                                    DECLARATION OF MICHAEL J. HIGGINS IN OPPOSITION TO AMR’s MOTION FOR SUMMARY JUDGMENT
                                                                                                                                                    1881-010\2102948.1
                                                                                                                                                    Case 2:05-cv-01316-JAM-EFB Document 77 Filed 08/31/05 Page 3 of 4

                                                                                                                                                1 from the certified deposition transcript of David Hafey, taken on August 10, 2005. The excerpt

                                                                                                                                                2 includes the first page of the deposition transcript and the certification page.

                                                                                                                                                3          12.     Attached hereto behind the tab “Lewis Depo” are true and correct copies of pages

                                                                                                                                                4 from the certified deposition transcript of Mark Lewis, taken on August 10, 2005. The excerpt

                                                                                                                                                5 includes the first page of the deposition transcript and the certification page.

                                                                                                                                                6          13.     Attached hereto behind the tab “Rodriquez Depo” are true and correct copies of

                                                                                                                                                7 pages from the certified deposition transcript of Edmond Rodriquez, taken on August 11, 2005.

                                                                                                                                                8 The excerpt includes the first page of the deposition transcript and the certification page.

                                                                                                                                                9          14.     Attached hereto behind the tab “Elzig Depo” are true and correct copies of pages
                                                                                                                                               10 from the certified deposition transcript of Barry Elzig, taken on August 11, 2005. The excerpt
              WULFSBERG REESE COLVIG & FIRSTMAN




                                                                                                                                               11 includes the first page of the deposition transcript and the certification page.

                                                                                                                                               12          15.     Attached hereto as Exhibit 8 is a true and correct copy of Deposition Exhibit
                                                                                   OAKLAND, CALIFORNIA 94612-3524
                                                  300 LAKESIDE DRIVE, 24TH FLOOR
                                                   PROFESSIONAL CORPORATION




                                                                                                                                               13 number 43, authenticated at pages 26-28 and 100-103 of the Elzig deposition.
                                                                                                                    TELEPHONE (510) 835-9100
                                                          KAISER CENTER




                                                                                                                                               14          16.     Attached hereto as Exhibit 9 is a true and correct copy of Deposition Exhibit
LAW OFFICES




                                                                                                                                               15 number 6, authenticated at pages 79-80 of the Elzig deposition.

                                                                                                                                               16          17.     Attached hereto behind the tab “White Depo” are true and correct copies of pages

                                                                                                                                               17 from the certified deposition transcript of Bradley White taken on August 12, 2005. The excerpt

                                                                                                                                               18 includes the first page of the deposition transcript and the certification page.

                                                                                                                                               19          18.     Attached hereto as Exhibit 10 is a true and correct copy of Deposition Exhibit
                                                                                                                                               20 number 31, authenticated at pages 99-100 of the White deposition.

                                                                                                                                               21          19.     Attached hereto behind the tab “Hakeem Depo” are true and correct copies of pages

                                                                                                                                               22 from the certified deposition transcript of Michael Hakeem, taken on August 12, 2005. The

                                                                                                                                               23 excerpt includes the first page of the deposition transcript and the certification page.

                                                                                                                                               24          20.     Attached hereto as Exhibit 11 is a true and correct copy of Deposition Exhibit

                                                                                                                                               25 number 51, authenticated at pages 17-18 of the Hakeem deposition.

                                                                                                                                               26          21.     Attached hereto as Exhibit 12 is a true and correct copy of Deposition Exhibit

                                                                                                                                               27 number 52, authenticated at pages 22-26 of the Hakeem deposition.

                                                                                                                                               28          I declare under penalty of perjury under the laws of California that the foregoing is true and


                                                                                                                                                                                                     -3-
                                                                                                                                                    DECLARATION OF MICHAEL J. HIGGINS IN OPPOSITION TO AMR’s MOTION FOR SUMMARY JUDGMENT
                                                                                                                                                    1881-010\2102948.1
                                                                                                                                                    Case 2:05-cv-01316-JAM-EFB Document 77 Filed 08/31/05 Page 4 of 4

                                                                                                                                                1 correct. Executed this 31st day of August 2005.

                                                                                                                                                2                                                                 /s/Michael J. Higgins

                                                                                                                                                3                                                                 MICHAEL J. HIGGINS

                                                                                                                                                4

                                                                                                                                                5

                                                                                                                                                6

                                                                                                                                                7

                                                                                                                                                8

                                                                                                                                                9
                                                                                                                                               10
              WULFSBERG REESE COLVIG & FIRSTMAN




                                                                                                                                               11

                                                                                                                                               12
                                                                                   OAKLAND, CALIFORNIA 94612-3524
                                                  300 LAKESIDE DRIVE, 24TH FLOOR
                                                   PROFESSIONAL CORPORATION




                                                                                                                                               13
                                                                                                                    TELEPHONE (510) 835-9100
                                                          KAISER CENTER




                                                                                                                                               14
LAW OFFICES




                                                                                                                                               15

                                                                                                                                               16

                                                                                                                                               17

                                                                                                                                               18

                                                                                                                                               19
                                                                                                                                               20

                                                                                                                                               21

                                                                                                                                               22

                                                                                                                                               23

                                                                                                                                               24

                                                                                                                                               25

                                                                                                                                               26

                                                                                                                                               27

                                                                                                                                               28


                                                                                                                                                                                                     -4-
                                                                                                                                                    DECLARATION OF MICHAEL J. HIGGINS IN OPPOSITION TO AMR’s MOTION FOR SUMMARY JUDGMENT
                                                                                                                                                    1881-010\2102948.1
